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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

  GREGORIO DELGADO-SALINAS,          )
                                     )
        Petitioner,                  )
                                     )
              v.                     )     1:11cr281
                                     )     1:13cv355
                                     )
  UNITED STATES OF AMERICA,          )
                                     )
        Respondent.                  )


                   M E M O R A N D U M    O P I N I O N

            This matter is before the Court on Petitioner Gregorio

Delgado-Salinas’s (“Petitioner”) Motion to Vacate, Set Aside, or

Correct Sentence, pursuant to 28 U.S.C. § 2255 (“Motion”).

[Dkt. 437.]    For the reasons set forth below, the Court will

deny Petitioner’s Motion.

                              I. Background

            In June 2010, during an undercover operation, law

enforcement officers learned that Petitioner was the head of a

drug distribution ring operating in Washington D.C. and

Virginia.   (Aff. in Supp. of Compl. [Dkt. 2] ¶ 7.)         Subsequent

investigation revealed that Petitioner used internal body

couriers to smuggle cocaine from Mexico, which he would then

distribute to customers throughout northern Virginia.

(Indictment [Dkt. 48] at 2-5.)       On or about May 25, 2011,


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Petitioner was arrested and charged with conspiracy to

distribute five kilograms or more of cocaine, and possession of

a firearm in furtherance of a drug trafficking crime.           (Id. at

1.)

           John C. Kiyonaga, an attorney licensed to practice in

this jurisdiction, was appointed to represent Petitioner on

these charges.    (CJA Appointment [Dkt. 12] at 1.)        Following

plea negotiations, the Government offered to dismiss the weapons

charge in exchange for a full plea to the conspiracy charge.

(Kiyonaga Aff. [Dkt. 466-2] at 1.)        Against counsel’s advice,

Petitioner rejected this deal.       (Id.)

           On August 26, 2011, while being arraigned on the above

mentioned charges, Petitioner orally moved the Court to appoint

new counsel.    (Hr’g Mins. [Dkt. 52] at 1.)        Unconvinced by

Petitioner’s argument, the Court denied Petitioner’s request.

(Order [Dkt. 55] at 1.)

           On October 5, 2011, the Government filed an amended

indictment with an additional distribution charge against

Petitioner.    (Superseding Indictment [Dkt. 58] at 1.)

           Following additional negotiations, the Government

offered to drop the distribution count in exchange for a guilty

plea to the remaining charges.       Petitioner elected to accept

this deal and he signed a plea agreement to this effect on

December 19, 2011.     (Plea Agreement [Dkt. 187] at 1.)        Among

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other terms, this agreement contained a standard cooperation

provision:

           The parties agree that the United States
           reserves the right to seek any departure
           from the applicable sentencing guidelines,
           pursuant to Section 5K1.1 of the Sentencing
           Guidelines and Policy Statements, or any
           reduction of sentence pursuant to Rule 35(b)
           of the Federal Rules of Criminal Procedure,
           if, in its sole discretion, the United
           States determines that such a departure or
           reduction of sentence is appropriate.

(Id. at 9.)    Petitioner simultaneously signed a formal statement

of facts, in which he admitted that between June 2010 and May

2011 he knowingly and intentionally conspired with several other

individuals to distribute five kilograms or more of a substance

containing a detectable amount of cocaine.         (Statement of Facts

[Dkt. 188] at 2-3.)     Petitioner further stipulated to possessing

a firearm in furtherance of a drug trafficking crime.           (Id. at

1.)

           On December 21, 2011, Petitioner appeared before this

Court and pled guilty to the above mentioned charges.           (Plea

Mins. [Dkt. 186] at 1.)      During the ensuing plea colloquy,

Petitioner affirmed that he had been given ample opportunity to

consult with his attorney and that he was fully satisfied with

the counsel, representation, and advice given.          The Court then

reviewed with Petitioner the constitutional rights he was

forfeiting by pleading guilty along with the facts alleged in


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the indictment.    Petitioner agreed with the Court’s rendition of

his conduct without objection.       At the conclusion of the

hearing, the Court found Petitioner’s plea knowing and

voluntary.

           Petitioner appeared for sentencing on March 16, 2012.

(Sentencing Mins. [Dkt. 322] at 1.)        Following argument, the

Court sentenced petitioner to 188 months on the conspiracy

charge and 60 months on the weapons charge.         (Judgment [Dkt.

329] at 2.)    Petitioner did not notice an appeal.

           On March 14, 2013, Petitioner filed the instant motion

to vacate along with a supporting memorandum of law.           (Mot. to

Vacate at 14; Pet’r’s Mem. [Dkt. 440] at 1.)         Petitioner’s

filings assert the following grounds for relief: (1) “Defense

counsel was ineffective during plea negotiations where he lied

to Defendant, making the plea unknowing and involuntary”; (2)

“Defense attorney was ineffective for failing to file an appeal,

when instructed to do so”; and (3) “Defense counsel was

ineffective for failing to be present at presentence

investigation and failing to review or file objections to the

presentence report.”     (Pet’r’s Mem. at 2, 4, 5.)       The merits of

these allegations are addressed below.

                         II. Standard of Review

           A motion to vacate, set aside, or correct sentence

under 28 U.S.C. § 2255 allows a prisoner to challenge the

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legality of his sentence on four grounds: (1) “the sentence was

imposed in violation of the Constitution or laws of the United

States”; (2) “the court was without jurisdiction to impose such

sentence”; (3) “the sentence was in excess of the maximum

authorized by law”; or (4) the sentence is “otherwise subject to

collateral attack.”     28 U.S.C. § 2255(a).      The petitioner bears

the burden of demonstrating his grounds for relief by a

preponderance of the evidence.       See Hall v. United States, 30 F.

Supp. 2d 883, 889 (E.D. Va. 1998).

           A motion brought under § 2255 is not intended to be a

substitute for appeal.      Claims regarding trial or sentencing

errors that could have been, but were not, raised on direct

appeal are procedurally barred from review under § 2255.           See

Bousley v. United States, 523 U.S. 614, 621-22 (1998).

Nevertheless, an exception applies for claims of ineffective

assistance of counsel.      See United States v. Martinez, 136 F.3d

972, 979 (4th Cir. 1998); United States v. King, 119 F.3d 290,

295 (4th Cir. 1997) (“[I]t is well settled that a claim of

ineffective assistance should be raised in a 28 U.S.C. § 2255

motion in the district court rather than on direct appeal,

unless the record conclusively shows ineffective assistance.”

(citation omitted)).

           Under the standard promulgated in Strickland v.

Washington, 466 U.S. 668 (1984), a petitioner is required to

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demonstrate two elements in order to state a successful claim

for ineffective assistance: (1) “counsel’s representation fell

below an objective standard of reasonableness”; and (2) “there

is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have

been different.”     Id. at 688, 694.

           To establish constitutionally deficient performance

under the first prong, a petitioner must demonstrate that his

lawyer “made errors so serious that counsel was not functioning

as the ‘counsel’ guaranteed . . . by the Sixth Amendment.”

Strickland, 466 U.S. at 687.       Such a showing must go beyond

establishing that counsel’s performance was below average, since

“effective representation is not synonymous with errorless

representation.”     Springer v. Collins, 586 F.2d 329, 332 (4th

Cir. 1978); see also Strickland, 466 U.S. at 687.          Given it is

all too easy to challenge an act, omission, or strategy once it

has proven unsuccessful, “every effort [must] be made to

eliminate the distorting effects of hindsight, to reconstruct

the circumstances of counsel’s challenged conduct, and to

evaluate the conduct from counsel’s perspective at the time.”

Strickland, 466 U.S. at 689.

           In assessing performance, a court must apply a “heavy

measure of deference to counsel’s judgments.”         Strickland, 466

U.S. at 691.    A lawyer’s decision not to pursue a defense does

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not constitute deficient performance if, as is typically the

case, the lawyer has a reasonable justification for the

decision.    “[S]trategic choices made after thorough

investigation of law and facts relevant to plausible options are

virtually unchallengeable.”      Id. at 690.     Moreover, “strategic

choices made after less than complete investigation are

reasonable precisely to the extent that reasonable professional

judgments support the limitations on investigation.”           Id. at

690-91.

            The second prong requires a petitioner to

“affirmatively prove prejudice,” which necessitates a showing

that “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have

been different.”     Strickland, 466 U.S. at 694.       “A reasonable

probability is a probability sufficient to undermine confidence

in the outcome.”     Id.   The district court applies a slightly

modified prejudice standard when a petitioner alleges

ineffective assistance associated with the entry of a guilty

plea, requiring the petitioner to demonstrate that “there is a

reasonable probability that, but for counsel’s errors, he would

not have pleaded guilty and would have insisted on going to

trial.”   Hill v. Lockhart, 474 U.S. 52, 59 (1985).




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                              III. Analysis

           Petitioner’s claims of ineffective assistance are

addressed in turn, keeping in mind that he bears the burden of

establishing both deficient performance and prejudice.           See

Strickland, 466 U.S. at 700.

     1. Plea Negotiations

           Petitioner first argues that counsel provided

ineffective assistance during plea negotiations.          (Pet’r’s Mem.

at 2-4.)   According to Petitioner, counsel lied to him regarding

his sentencing exposure and allowed the “10-year plea offer to

expire.”   (Id. at 4.)    Petitioner also alleges that counsel

improperly waived the speedy trial deadlines without his

consent.   (Delgado-Salinas Aff. [Dkt. 437-2] ¶ 4.)         Thus,

concludes Petitioner, his resulting guilty plea was unknowing

and involuntary.     (Pet’r’s Mem. at 3.)     As explained below, the

Court finds these arguments unconvincing.

           First, Petitioner cannot mount a successful claim of

ineffective assistance based on counsel’s alleged inaccurate

predictions of his sentencing exposure given the Court clearly

corrected such information in the ensuing plea colloquy.            See

United States v. Foster, 68 F.3d 86, 88 (4th Cir. 1995) (“[I]f

the information given by the court at the Rule 11 hearing

corrects or clarifies the earlier erroneous information given by

the defendant’s attorney and the defendant admits to

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understanding the court’s advice, the criminal justice system

must be able to rely on the subsequent dialogue between the

court and defendant.” (citation and internal quotation marks

omitted)).    During Petitioner’s plea hearing, the Court advised

Petitioner of the potential penalties associated with his

convictions, the consequences of pleading guilty, and that his

sentence would be determined by the Court.         This colloquy was

sufficient to cure any potential prejudice from counsel’s

alleged misinformation.      See Foster, 68 F.3d at 88.

Petitioner’s plea agreement also accurately listed the potential

punishments for his crimes.      (Plea Agreement at 1-2.)

Accordingly, even if counsel improperly advised Petitioner

regarding his sentencing exposure, which is itself unsupported

by the record, (Kiyonaga Aff. at 1-2.), this argument cannot

stand.   See Rahman v. United States, Nos. 7:08–CR–126–D, 7:10–

CV–69–D, 2013 WL 3984435, at *2 (E.D.N.C. Aug. 1, 2013) (“[A]

petitioner cannot mount a successful claim of ineffective

assistance based on counsel’s inaccurate prediction of the

petitioner’s likely sentence where the court corrects such

misinformation at the Rule 11 hearing.” (citations omitted)).

             The Court similarly rejects Petitioner’s claim that

counsel rendered ineffective assistance by allowing the

Government’s “10-year plea offer to expire.”         (Pet’r’s Mem. at

4.)   This position is flatly contradicted by the record, which

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shows that counsel communicated every plea offer and repeatedly

advised Petitioner to take the “10-year plea” when offered.

(Kiyonaga Aff. at 1-2.)      Petitioner’s sworn statements at his

plea hearing also refute this allegation.         See Rahman, 2013 WL

3984435, at *3 (“The court must dismiss claims that rely on

allegations that contradict sworn statements at the Rule 11

hearing.” (citation omitted)).       Petitioner chose to gamble on a

better deal closer to trial and lost.         Although Petitioner may

now have “buyer’s remorse” concerning the plea offer he passed

up, he has set forth no credible evidence establishing that

counsel was ineffective in this regard.

            Finally, counsel’s alleged failure to obtain

Petitioner’s consent before waiving the speedy trial deadlines

is insufficient to sustain a claim of ineffective assistance.

See United States v. Jamison, Nos. 4:05-cr-00025, 4:08-cv-80030,

2008 WL 2199497, at *4 n.6 (W.D. Va. May 27, 2008) (rejecting

ineffective assistance claim based on speedy trial waiver

because such a decision is tactical in nature); Smith v. United

States, Nos. 5:03-CR-195-FL, 5:07-CV-83-FL, 2007 WL 3112420, at

*3 (E.D.N.C. Oct. 22, 2007) (same).        In any event, this

allegation is frivolous and refuted by counsel’s sworn

affidavit, which the Court finds credible.         See Ecker v. United

States, No. 1:11cv1006 (LMB), 2012 WL 6214356, at *7 (E.D. Va.



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Dec. 12, 2012) (rejecting petitioner’s ineffective assistance

claim on grounds that the record contradicted his arguments).

            Unfortunately for Petitioner, there is simply no

evidence outside of his conclusory statements to support these

claims.    As best the Court can discern, Petitioner made a deal

and he is now unhappy with the result.          There is nothing to

indicate that counsel failed to adequately represent

Petitioner’s interests prior to the guilty plea.            Accordingly,

Petitioner’s first ground for relief will be denied. 1

      2. Appeal Waiver

            Petitioner next argues that counsel rendered

ineffective assistance when he refused to file a notice of

appeal on Petitioner’s behalf.        (Pet’r’s Mem. at 4-5.)

Petitioner maintains he specifically asked counsel to file an

appeal but counsel ignored his request.          (Id.)

            The Supreme Court has stated that counsel’s failure to

file a notice of appeal requested by a defendant is per se

ineffective assistance.       See Roe v. Flores–Ortega, 528 U.S. 470,

483–86 (2000).     The Fourth Circuit has interpreted Flores–Ortega

to mean that “an attorney is required to file a notice of appeal

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   Although not raised as a separate ground for relief, Petitioner also
asserts that counsel failed to adequately investigate his case prior to the
guilty plea. (Delgado-Salinas Aff. ¶¶ 1, 3.) Petitioner’s argument is
wholly conclusory and therefore insufficient to warrant relief. See United
States v. Worley, No. 1:05CR00076, 2008 WL 4850586, at *3 (W.D. Va. Nov. 7,
2008) (denying petitioner’s claim of insufficient investigation where she
neglected “to state specific facts concerning the type of investigation and
preparation counsel failed to make”).

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when unequivocally instructed to do so by his client, even if

doing so would be contrary to the plea agreement and harmful to

the client’s interests.”      United States v. Poindexter, 492 F.3d

263, 273 (4th Cir. 2007).       In Poindexter, the Fourth Circuit

further instructed that “when a defendant brings a § 2255 claim

based on his attorney’s failure to file a requested notice of

appeal, the district court should hold a hearing if it is

unclear in the record whether the attorney was so instructed.”

Id. at 272.

            Outside of his pleadings and self-serving affidavit,

Petitioner offers no evidence to sustain this argument.            In

fact, the record strongly supports the conclusion that

Petitioner did not unequivocally ask counsel to file an appeal.

First, there is the tactical reality that Petitioner

specifically waived his right to appeal and he would have lost

the benefit of any downward departure had he breached this term.

(Plea Agreement at 14-15.)       Moreover, in his sworn affidavit,

counsel categorically contradicts Petitioner’s claim, stating

that Petitioner never asked him to file an appeal.           See Martin

v. United States, 395 F. Supp. 2d 326, 330-31 (D.S.C. 2005)

(denying ineffective assistance claim based, in part, on

counsel’s credible affidavit stating that petitioner never

requested an appeal).



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            Given the facts in the record, the Court finds that an

evidentiary hearing would not assist the decisional process and

would involve an unnecessary expenditure of judicial resources.

Because the Court had the opportunity to observe Petitioner’s

demeanor at his plea and sentencing hearings, and has had dozens

of opportunities to observe defense counsel, a credibility

finding can be made on the record already established.           That

record includes blatant contradictions between Petitioner’s

pleadings and the statements he made under the penalty of

perjury during his plea colloquy.         These contradictions strongly

undercut the trustworthiness of his claim that he directed

counsel to file a notice of appeal.        Moreover, counsel’s sworn

denial of Petitioner’s allegation is extremely credible.

(Kiyonaga Aff. at 1-2.)      Counsel is a well-respected member of

this bar and his track record of adequately representing his

clients is well known to the Court.        For all of these reasons,

the Court finds that Petitioner has not sustained his burden of

proof on his claim that he unambiguously directed counsel to

notice an appeal.

            Furthermore, given Petitioner’s appeal waiver and the

facts of this case, counsel’s decision to omit an appeal was not

ineffective assistance.      See United States v. Ranking, No.

3:09cr130–HEH, 2013 WL 4060576, at *21 (E.D. Va. Aug. 9, 2013)

(noting that if an attorney receives no express instruction to

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file a notice of appeal, a court must determine whether

counsel’s failure to consult with the defendant and file an

appeal itself constitutes deficient performance); United States

v. Brown, No. 3:08CR488–6, 2013 WL 3967335, at *6-8 (E.D. Va.

Aug. 1, 2013) (finding counsel did not have a duty to file an

appeal, or consult with defendant regarding the same, where

defendant pled guilty, waived his right to appeal, and did not

object during sentencing); United States v. Ashby, No.

1:10CR00048–002, 2013 WL 1122650, at *4-5 (W.D. Va. Mar. 18,

2013) (same).     Accordingly, this claim of ineffective assistance

will be dismissed without an evidentiary hearing.

      3. Presentence Investigation Report

            Lastly, Petitioner claims that counsel was ineffective

for failing to review the presentence report with him prior to

sentencing.    (Pet’r’s Mem. at 5-6.)      Petitioner further claims

that he “was prejudiced by . . . counsel’s failure to identify

and challenge sentencing enhancements and lack of departure for

his extensive cooperation with the Government.”          (Id. at 7.)    As

explained below, these arguments are meritless.

            First, Petitioner’s assertion that he never reviewed

the presentence report with counsel prior to sentencing is

confuted by the record.      During sentencing, the Court

specifically asked Petitioner if he had gone over the report

with his lawyer.     (Sentencing Tr. [Dkt. 455] 3:21-25.)

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Petitioner answered in the affirmative.         (Id. at 4:1-11.)

Petitioner has not offered any convincing evidence that would

undermine these sworn statements.         Consequently, Petitioner is

bound by these declarations, and his current allegations to the

contrary must be rejected.       See Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1299 (4th Cir. 1992) (“Absent clear and

convincing evidence to the contrary, a defendant is bound by the

representations he makes under oath during a plea colloquy.”);

see also United States v. Lemaster, 403 F.3d 216, 221 (4th Cir.

2005) (“[I]n the absence of extraordinary circumstances . . .,

allegations in a § 2255 motion that directly contradict the

petitioner’s sworn statements made during a properly conducted

Rule 11 colloquy are always ‘palpably incredible’ and ‘patently

frivolous or false.’” (citations omitted)).          Moreover, in his

sworn affidavit, counsel affirms that he reviewed the

presentence report with Petitioner.        (Kiyonaga Aff. at 2.)

Obviously, counsel cannot be found ineffective for failing to do

something that he in fact did.       See Rahman, 2013 WL 3984435, at

*3.

            Petitioner’s argument that counsel failed to raise the

issue of his cooperation with the Government collapses under

this same rationale.      Counsel did advise the Court of

Petitioner’s assistance.      (Def.’s Position on Sentencing [Dkt.

290] at 2.)    As outlined in the plea agreement, whether to grant

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a downward departure rests solely within the Government’s

discretion.    (Plea Agreement at 9.)      Counsel adequately

presented Petitioner’s cooperation, and the Government’s

decision to withhold a downward departure cannot constitute

ineffective assistance under these circumstances.           See Hodge v.

United States, Nos. 4:12–cv–732–TLW, 4:08–cr–1082–TLW, 2013 WL

1567419, at *4 (D.S.C. Apr. 15, 2013); Baker v. United States,

Nos. 1:07CV339-03-T, 1:05CR223, 2007 WL 4180588, at *4 (W.D.N.C.

Nov. 20, 2007).

            Petitioner’s final point – that “counsel[ ] fail[ed]

to identify and challenge sentencing enhancements” – is too

indefinite and conclusory to permit review.          (Pet’r’s Mem. at

7.)   Petitioner’s vague assertion that counsel should have

challenged certain unidentified sentencing enhancements is

insufficient.     See United States v. Dyess, 730 F.3d 354, 359

(4th Cir. 2013) (“[V]ague and conclusory allegations contained

in a § 2255 petition may be disposed of without further

investigation by the District Court.”); see also United States

v. Abdelshafi, No. 3:07CR428–HEH, 2013 WL 4773978, at *5 (E.D.

Va. Sept. 5, 2013).      In any event, the Court has reviewed the

presentence report along with counsel’s conduct at sentencing

and it is apparent that his conduct falls within “wide range of

reasonable professional assistance” permitted under Strickland.

466 U.S. at 689.

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            In sum, Petitioner has failed to meet his burden as to

any of his claims of ineffective assistance.          The record

reflects that counsel competently represented Petitioner

throughout all stages of his criminal proceeding.           Consequently,

Petitioner is not entitled to relief on these charges.

                              IV. Conclusion

            For the foregoing reasons, the Court will dismiss

Petitioner’s Motion.      An appropriate Order will issue.


                                               /s/
January 23, 2014                        James C. Cacheris
Alexandria, Virginia           UNITED STATES DISTRICT COURT JUDGE




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